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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA
Cr. No. 19-10477-MLW

Vv.

RAFAEL ASHWORTH,

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Defendant.
MEMORANDUM AND ORDER
WOLF, D.Jd. June 13, 2023
I. SUMMARY

Defendant Rafael Ashworth is charged with: (1) one count of
possession with intent to distribute 40 grams or more of fentanyl,
50 grams or more of methamphetamine, and heroin; and (2) one count
of distribution and possession with intent to distribute fentanyl
resulting in the death of Nicole Fusaro. Superseding Indictment
(Dkt. No. 62).

Ashworth filed a motion to suppress all of the statements he
made to law enforcement officers while they were at his apartment
on November 17, 2019. 2nd Mot. to Suppress at 1° (Dkt. No. 105). He
does not argue that suppression is warranted because officers
failed to give him Miranda warnings before asking him questions.
Rather, he contends that his statements were involuntary because
he was under the influence of cannabinoids, and was later diagnosed
with, among other things, renal failure. Mem. in Supp. at 3-8 (Dkt.

No. 106).
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The government opposes Ashworth's motion on. two grounds.
First, in response to the September 25, 2022 Memorandum and Order
(Dkt. No. 99), but not any argument by Ashworth, the government
asserts that officers were not required to give Ashworth Miranda
warnings because Ashworth was never subject to custodial
interrogation. Gov't Opp'n at 5-8 (Dkt. No. 109). Second, the
government contends that suppression is not justified because the
officers' conduct and questioning were not coercive and,
therefore, his statements were not involuntary. Id. at 8-12.

For the reasons described below, the officers were not
required to give Ashworth Miranda warnings and they did not coerce
his statements. Accordingly, the motion to suppress is being
denied.

II. PROCEDURAL HISTORY

On December 18, 2019, Ashworth was charged with possession
with intent to distribute 40 grams or more of fentanyl, 50 grams
or more of methamphetamine, and heroin. Indictment (Dkt. No. 11).
On February 10, 2021, the government filed a Superseding Indictment
adding a charge of distribution and possession with intent to
distribute fentanyl resulting in death. Superseding Indictment
(Dkt. No. 62).

On November 12, 2021, Ashworth filed a motion to suppress
all evidence obtained in the searches of his apartment at 7 Morse

Street. lst Mot. to Suppress (Dkt. No. 78) ("First Motion to
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Suppress"); Mem. in Supp. (Dkt. No. 79). The government opposed
the First Motion to Suppress. Gov't Opp'n (Dkt. No. 81). The court
held a hearing on the First Motion to Suppress on August 17, 2022.
See Aug. 17, 2022 Tr. (Dkt. No. 97). During the hearing, the court
raised an issue the parties had not addressed.

[Defendant's counsel] Mr. Reddington - . +» asked if
Miranda rights were administered, because having seen a
dead body and the pills, []there was probable cause to
make an arrest. And then the question would be was [the
defendant] in custody. Even if they didn't say, "You're
under arrest," would he have been allowed to leave? And
I asked that question and I have to think about the
response. . . . [There is a question of whether]
statements made after . . . [Officer Scott] Lacerra
discovered the pill press and the, sadly, dead body ought
to be admissible or whether there should have been
Miranda warnings. -({Y]ou certainly haven't briefed that,
and I don't know if I'm going to decide that now.

Id. at 101:13-102:4.

On September 25, 2022, the court issued a Memorandum and Order
denying Ashworth's First Motion to Suppress. Mem. & Order (Dkt.
No. 99}. The court wrote that:

Ashworth did not move to suppress statements he made and
evidence derived from them on the basis of his Fifth
Amendment right to receive Miranda warnings that would
be required if he was in custody. See Miranda v. Arizona,
384 U.S. 436 (1966). This issue was mentioned at the
August 17, 2022 hearing. If requested, the court will
provide Ashworth an opportunity to file another motion
to suppress based on the Miranda issue.

 

Id. at 9n.1.
On October 5, 2022, Ashworth's counsel requested an extension

of time to file a second motion to suppress, Mot. (Dkt. No. 101),
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which the court granted on October 6, 2022, Order (Dkt. No. 102).
Ashworth's counsel requested another extension on October 20,
2022. Mot. (Dkt. No. 103). The court granted that request on
October 21, 2022, and set a deadline of November 4, 2022. Order
(Dkt. No. 104).

On November 2, 2022, Ashworth filed a motion to suppress "all
statements" he made during the officers' November 17, 2019 visits
to his apartment. 2nd Mot. to Suppress (Dkt. No. 105) ("Second
Motion to Suppress"); Mem. in Supp. (Dkt. No. 106).! On November
16, 2022, the government filed its opposition. Gov't Opp'n (Dkt.
No. 109). Ashworth did not file a reply.

III. FACTS RELATING TO THE SECOND MOTION TO SUPPRESS?

The court finds that the following facts have been proven by
a preponderance of the credible evidence.

In November 2019, Ashworth lived at 7 Morse Street, Apartment

1 ("the apartment"). See Aug. 17, 2022 Tr. at 27:10-13 (Dkt. No.

 

1 Ashworth's memorandum in support of his Second Motion to
Suppress indicated that exhibits A, B, C, D, 5, and F were
attached. Mem. in Supp. at 2 (Dkt. No. 106). However, no exhibits
were attached to the submission. The Clerk contacted counsel for
Ashworth on May 26, 2023; June 2, 2023; June 5, 2023; and June 39,
2023, regarding the exhibits. Counsel has not provided copies. The
court believes that it has located the exhibits elsewhere on the
docket.

2 The September 25, 2022 Memorandum & Order (Dkt. No. 99)
includes a fuller factual discussion. The summary here focuses on
the circumstances surrounding Ashworth's statements, including his
mental state.
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97). On November 17, 2019, Ashworth made statements to officers
when they visited the apartment on two separate occasions and asked
him questions. Id. at 31:5-6, 32:4-10, 53:5-7, 56:25-57:24, 72:13-
73:2. Following the second visit, Ashworth was taken to a hospital
for medical treatment. Id. at 74:6-8.

A. First Visit and Statements

 

At approximately 2:30 p.m., Natick Police Officer Ryan Hall
went to the apartment to complete a well-being check for Nicole
Fusaro. Id. at 24:23-25:11. Hall was the only law enforcement
officer who went to the apartment. Firefighters were also
dispatched and were outside the apartment when Hall arrived. Id.
25:13. The firefighters knocked on the door of the apartment and
no one answered. Id. at 25:18-20.

Ashworth's neighbor, Dennis Mabee, entered Ashworth's
apartment through an unlocked door. Id. at 27:19-24. Hall did not
ask Mabee to do so. Id. at 27:25-28:6. Hall and the firefighters
did not follow Mabee into the apartment. Id. at 28:12-13. Mabee
returned. Id. at 28:14-16. He informed a firefighter that there
was someone inside the apartment who appeared to be passed out.
Id. at 28:14-29:5-8. The firefighters entered through the
apartment's unlocked door and Hall followed them inside. See id.
at 29:9-11. Hall described the size of the apartment as "small."
Id. at 31:24-32:1. When Hall reached the second floor of the

apartment, a firefighter was there speaking to Ashworth. Id. at
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29:20-30:9. Ashworth was sitting on the ground outside a bedroom
door. Id. at 31:13-14. Ashworth was wearing shorts or boxer shorts
with a blanket or comforter around his shoulders. Id. at 30:24-
25. Hall thought that Ashworth looked like he had just woken up.
Aff. of Ryan Hall at 78 (Dkt. No. 92-1).

A firefighter asked Ashworth if he needed any assistance.
Aug. 17, 2022 Tr. at 31:7-9. Ashworth indicated that he did not.
Id. at 31:11. Hall told Ashworth that Natick Police had received
a request to complete a wellness check for Fusaro. Id. at 31:5-6,
32:4-8. Ashworth said he had not seen her in weeks, and that he
was alright and did not need assistance. Id. at 32:10; see also
Aff. of Ryan Hall at (10 (Dkt. No. 92-1). Hall and the firefighters
left. Aug. 17, 2022 Tr. at 33:2-6.

B. Second Visit and Statements

 

Later that day, at approximately 4:20 p.m., Natick Police
Officers Scott Lacerra and James Keohane went to the apartment in
response to a report that an overdose was occurring. Aff. of Scott
Lacerra (Dkt. No. 92-2); Aug. 17, 2022 Tr. at 50:19-51:11, 52:20-
21, 65:15-18. Lacerra and Keohane were the only law enforcement
officials present. Two or three firefighters also responded to the
reported overdose. Aug. 17, 2022 Tr. at 51:12-13, 68:2-4.

The officers and the firefighters knocked on the apartment
door and no one answered. See id. at 52:4-5. They entered the

apartment together through the unlocked door, with Lacerra leading
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the way. Id. at 52:4-9. The group went to the second floor. Id. at
52:16-23. The top of the stairs "opened into a bathroom" where
Lacerra could see Ashworth kneeling with his head against the sink.
Id. at 53:1-3. Ashworth was wearing only his boxer shorts. Id. at
53:16-17. Lacerra greeted Ashworth. Id. at 67:24-68:1. Ashworth
slowly turned his head towards Lacerra and looked at him with a
blank stare. Id. at 6©8:5-7. Lacerra considered the slow head
movement and blank stare to indicate that Ashworth was under the
influence of drugs or alcohol. Id. at 68:9-15. Lacerra told
Ashworth that they had received a report of a drug overdose and
asked him if he was the only one in the apartment. Id. at 54:2-8,
53:5-6. Ashworth responded that he guessed so. Id. at 53:7, 68:21-
25. Though Lacerra thought Ashworth's appearance was consistent
with being under the influence of drugs and alcohol, he did not
think that Ashworth was experiencing an overdose. Id. at 54:9-13.

Firefighters brought Ashworth from the bathroom to the
kitchen table and attended to him. Id. at 54:23-55:2, 70:14-17.
The firefighters and Keohane stayed with Ashworth. Id. at 54:21-
23.

Lacerra started looking around the apartment, id. at 54:15-
18, and entered a bedroom through its open door, id. at 55:21-23.
The bedroom was dark, so he shined his flashlight inside. Id. at
55:25-56:4. He saw a person, later identified as Fusaro, lying on

a bed; a bowl of white powdery substance; and a pill press. Id. at
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56:9-23, 62:1-10. He called the firefighters, who came and
confirmed that Fusaro was dead. Id. at 56:19-22.

The white powdery substance was consistent in appearance with
fentanyl.? Id. at 75:24-76:5. Lacerra observed that the same
powdery substance was also scattered around the apartment and on
the kitchen table. Id. at 75:4-8.

Lacerra went to the kitchen where Ashworth was seated at the
table with the firefighters. See id. at 57:2-4. Ashworth appeared
to Lacerra to be impaired. Id. at 72:17-19. He was staring off
into space, and could not state what day of the week it was. Id.
at 72:20-24. Lacerra asked Ashworth what the powdery substance
was. Id. at 72:13-14. Ashworth said he did not know. Id. at 72:15-
16. Lacerra then asked Ashworth who the person on the bed was. Id.
at 56:25-57:1, 57:5-6. Ashworth said she was a 16-year-old girl.
Id. at 57:8, 72:25-73:2. Lacerra was then given a license that
belonged to Fusaro. Id. at 57:9-11. He asked Ashworth how long the
girl had been there. Id. at 57:12-14. Ashworth said she had died
sometime during the previous night. Id. at 57:15. Ashworth said he
had been out all day and had just returned home. Id. at 57:23-24.

Lacerra stopped asking Ashworth questions. He notified his
supervisor that there had been a death at the apartment. See id.

at 58:1-2. Lacerra was told to escort Ashworth out of the

 

3 Lacerra testified that from his training he understood that
merely touching fentanyl could cause an overdose. Id. at 84:4-13.

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apartment. Id. at 58:10-11. Ashworth was not under arrest. Id. at
73:10-11. Before Ashworth was escorted out of the apartment,
officers gave him clothes to wear. Id. at 58:14-19. Ashworth
attempted to put his pants on over his arms. Med. Rs. at 5 (Dkt.
No. 84-2 - sealed). Lacerra and Keohane walked Ashworth down the
stairs. Aug. 17, 2022 Tr. at 63:22-24. The firefighters might have
assisted the officers. Aff. of Scott Lacerra at 411. Ashworth was
impaired, almost fell down the stairs, and Lacerra had to
physically guide him. Aug. 17, 2022 Tr. at 73:21-24.
C. Hospitalization
Firefighters took Ashworth to MetroWest Hospital. Id. at 74:6-

8. Medical records provide information on Ashworth beginning
around 5:12 p.m., less than an hour after the officers and
firefighters visited the apartment for the second time. The records
indicate that Ashworth was brought to the hospital "by EMS with
police present." Med. Rs. at 5 (Dkt. No. 84-2 - sealed). The
records state:

The patient was noted to be acting bizarrely and confused

{at his place of residence]. . . . On arrival to the ED

the patient is awake and cooperative. He is answering

questions but somewhat confused and disoriented. He

admits to some alcohol use. He denies other drug use. He

is quite vague about the events of the day and cannot

really tell me anything that occurred prior to his

arrival here other than he knows he was drinking alcohol.

The patient denies headache, visual changes, nausea,

vomiting, chest pain, shortness of breath, abdominal

pain or other symptoms. . . . The patient has oriented
to person but thinks that it is Thursday, 2012.
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Id. Ashworth's heart rate and breathing were normal, as were his
motor and sensory functions. Id. at 5-6. His mental status was
"altered," which doctors considered "[c]Jonsistent with likely
substance use of some kind." Id. at 6. He was oriented to "person
and place but not day or date." Id. Around 5:54 p.m., a doctor
reviewed Ashworth's laboratory results. Id. at 6. The results
indicated “some degree of dehydration and mild rhabdomyolysis
contributing to his kidney function." Id. At about 6:58 p.m., a
doctor noted that Ashworth remained "overall stable" and was
“resting quietly. Plan to continue hydration, recheck labs to rule
out acute rental failure. . . . Awaiting drug screen and
urinalysis." Id. at 7. At about 10:30 p.m., a doctor wrote that
Ashworth's mental faculties had "cleared slightly, but he still
thought this was January 2019 with Obama as the president." Id.

Chest x-rays showed "likely aspiration pneumonia." Id. Ashworth's

urinalysis “was unremarkable" but his "[u]rine drug screen was
positive for cannabinoids." Id. He was admitted with a diagnosis
of: "Pneumonia, Mental status changes, Dehydration, Acute renal

failure, Rhabdomyolysis, Hepatitis." Id. at 8. On November 18,
2019, a doctor opined that Ashworth "overdosed and developed an
aspiration pneumonitis." Id. at 80. Ashworth was treated with
intravenous "fluids and antibiotics" and discharged from MetroWest

Hospital on November 19, 2019. See id. at 64.

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That same day, the Lemuel Shattuck Hospital admitted Ashworth.
Med. Rs. at 2 (Dkt. No. 84-3 - sealed). Ashworth advised that he
drank a "full bottle of vodka with 3-4 pills of Xanax and snorted
cocaine on the night of [November 16]." Id. at 3. Ashworth
continued to receive intravenous antibiotics at the Lemuel
Shattuck Hospital and was discharged on December 2, 2019. Id. at
9. Doctors at Lemuel Shattuck described Ashworth's aspiration
pneumonia as "secondary to a drug overdose." Id. at 37. They
further noted that Ashworth might "have a component of cocaine-
induced lung injury or ‘crack lungs.'" Id. at 39.

D. Miranda

The officers did not give Ashworth Miranda warnings during
either visit to the apartment on November 17, 2019. See Aug. 17,
2022 Tr. at 73:25-74:5. They did not arrest Ashworth or tell him
that he was not free to leave. Conversely, they did not tell him
that they would not arrest him or that he was free to leave.

When questioned by the court, Lacerra stated the following
about whether Ashworth was free to leave or under arrest during
the second visit:

THE COURT: You said you never -- that you didn't put Mr.
Ashworth under arrest. But if he said to you in all the
circumstances that he wanted to leave, he didn't want to
be with you anymore, would you have let him go?

THE WITNESS: With his current physical state and the

fact that he couldn’t even hold himself up, no. We would
have made him go to the hospital.

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THE COURT: And hypothetically, if it weren't for that,
having seen the drugs, would you have let him go?

THE WITNESS: I believe detectives probably would have
wanted to question him more, but at that point I would
have no -- without knowing what exactly the powder was,
I don't think I would have had probable cause to place
him in custody.

THE COURT: And having seen the body on the bed, would
you have let him go?

THE WITNESS: Not without further questioning, no.
Id. at 80:22-81:12.
IV. ANALYSIS

A. Ashworth was not subject to custodial interrogation when
he made his statements, therefore, no Miranda warnings

were required.

Consistent with the Fifth Amendment right to avoid self-
incrimination, "prior to a custodial interrogation, law
enforcement officials must inform the individual to be
interrogated that: (1) he has the right to remain silent; (2) his
statements may be used against him at trial; (3) he has a right to
an attorney during questioning; and (4) if he cannot afford an
attorney, one will be appointed to represent him." United States
v. Gonzalez, 719 F. Supp. 2d 167, 170 (D. Mass. 2010) (citing

Miranda v. Arizona, 384 U.S. 436, 479 (1966)). If law enforcement

 

officers fail to provide the required Miranda warnings the
defendant's statements may be suppressed. See id.
Here, there is no dispute that officers did not provide

Ashworth with Miranda warnings before asking questions that

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elicited his statements on November 17, 2019. The question is
whether law enforcement had any obligation to provide Miranda
warnings to Ashworth. The answer turns on whether Ashworth was
subject to custodial interrogation, although he had not been
arrested, when he made his statements.

When no formal arrest has been made, a two-step inquiry is
required to determine if there was nevertheless a custodial
interrogation: (1) the court must “ascertain the circumstances
surrounding the interrogation;" and (2) the court must "examine
whether, viewed objectively, the discerned circumstances
constitute the requisite 'restraint on freedom of movement of the
degree associated with a formal arrest.'" United States v. Hughes,
640 F.3d 428, 435 (lst Cir. 2011) (citations omitted). The
interrogating officer's intent, unless communicated to. the
defendant, is irrelevant. Id.

The First Circuit requires consideration of four factors in
determining whether the totality of the circumstances demonstrates
that an individual was in custody absent an arrest: (1) "whether
the suspect was questioned in familiar or at least neutral
surroundings;" (2) "the number of law enforcement officers
present;" (3) "the degree of physical restraint;" and (4) "the
duration and character of the interrogation." Id. (quoting United

States v. Ventura, 85 F.3d 708, 711 (lst Cir. 1996)).

 

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All four factors weigh in favor of finding that Ashworth was

not subject to "'restraint on [his] freedom of movement of the
degree associated with a formal arrest.'" See id. at 435 (citations
omitted). Therefore, the officers did not violate Ashworth's

Miranda rights because they were not required to give him Miranda
warnings.

1. Officers questioned Ashworth in familiar
surroundings.

Here, the first factor, familiar or neutral surroundings,
Hughes, 640 F.3d at 435, favors the government. A suspect's home
is "generally" a “less intimidating atmosphere" and favors a
finding that a defendant was not in custody. Id. at 435-36. If a
home is small, however, the size may weigh in favor of a defendant.

United States v. Nishnianidze, 342 F.3d 6, 14 (Ist Cir. 2003).

 

Nevertheless, the size of the home is not determinative if there
is nothing to suggested that "officers either exploited its cozy
confines or invaded the defendant's personal space." Hughes, 640
F.3d at 436. In this case, the officers questioned Ashworth in his
own home on both occasions. See Aug. 17, 2022 Tr. at 27:10-13,
52:24-53:7, 60:7-23. Although Ashworth's apartment was "small,"
Aug. 17, 2022 Tr. at 31:24-32:1, there no indication that officers
exploited its size. The location of the questioning was familiar
to Ashworth and weighs in favor of finding that Ashworth was not

subjected to a custodial interrogation.

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2. Only one or two officer were present.

The second factor, the number of law enforcement officers
present, Hughes, 640 F.3d at 435, also favors the government. The
First Circuit has found the presence of one or two law enforcement
officers does not suggest that the defendant was restrained. Id.
at 436 (finding that two officers was "not overwhelming" and

collecting cases); United States v. Lanni, 951 F.2d 440, 442 (1st

 

Cir. 1991) (finding that "only two agents were present and only
one did the questioning" suggested the defendant was not

restrained); but see Nishnianidze, 342 F.3d at 14 (noting that,

 

among other things, "three agents in a small area" supported
suppression). In this case, there was one officer - Hall - present
for the first visit. Aug. 17, 2022 Tr. at 24:23-25:11. There were
two officers - Lacerra and Keohane - at the second visit when
Ashworth made additional statements. Id. at 51:10-13, 52:20-21.
Only Lacerra asked Ashworth questions. Id. at 53:5-57:24, 68:21-
25, 72:25-73:2. The other individuals present were firefighters
rendering aid to Ashworth. See Aug. 17, 2022 Tr. at 25:13-17,
51:12-13. Therefore, the number of officers supports a finding
that Ashworth was not in custody.

3. Ashworth was under little, if any, physical
restraint before or during questioning.

The third factor, the degree of physical restraint, Hughes,

640 F.3d at 435, also favors the government. When officers do not

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state that a suspect is "free to leave or terminate questioning"
that suggests "restraint." Lanni, 951 F.2d at 442. Conversely,
when they do not make a "statement suggesting that defendant [is]
not free to leave or terminate the questioning" that suggests that
the defendant retains freedom of movement. Id. When officers
neither make physical contact with the suspect nor brandish or use
their weapons in a “show of force," these facts indicate that the
“interrogation [is] non-custodial." Hughes, 640 F.3d at 436.
Officers directing a suspect's movements, separating him from
others, and monitoring his activity signals restraint. United

States v. Mittel-Carey, 493 F.3d 36, 40 (1st Cir. 2007) (finding

 

custodial interrogation when officers exerted physical control
over defendant who was “ordered to dress, go downstairs, and was
told where to sit; he was physically separated from his girlfriend
and not allowed to speak to her alone; and he was escorted by
agents on the three occasions that he was permitted to move,
including while he used the bathroom").

Post-questioning restraint, if not communicated in advance to
the defendant, does not indicate that a defendant was restrained
while questioned. Hughes, 640 F.3d at 436-37. In Hughes, officers
took the defendant into protective custody "upon the conclusion of
the interview" because they were concerned that he would be a
danger to himself or others. See id. The First Circuit found that

this post-interview restraint, which officers had intended from

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the outset without telling the defendant, "could not .. . have
had any influence on the defendant's willingness to speak." Id.

Here, there is no evidence that the officers told Ashworth he
was or was not free to leave - a factual wash supporting finding
both freedom and restraint. Supporting the view that Ashworth was
not restrained is the lack of evidence that any officer brandished
or unholstered his weapon during either visit to Ashworth's home.
There is also no evidence that Hall touched Ashworth during the
first visit or otherwise directed his movements.

With regard to the second visit, there is no evidence that
either officer touched Ashworth before or while Lacerra questioned
him. Ashworth was brought from the bathroom to the kitchen table
by firefighters who were administering aid. Aug. 17, 2022 Tr. at
54:23-55:2, 70:14-17. When the questioning was over, the officers
let Ashworth dress. Id. at 58:14-19. They escorted him downstairs
to receive medical treatment, which involved at least Lacerra
touching him, as Ashworth struggled to walk on his own. See id. at
73:21-24. This indicates control over Ashworth. However, there is
no evidence that before or while Lacerra questioned Ashworth he or
Keohane told Ashworth that they would escort him to receive medical
treatment. Their post-interview contact with and control over
Ashworth is similar to the restraint in Hughes and does not affect

the degree of restraint Ashworth was under during his interview.

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In view of the foregoing, the third factor also weighs in favor of
finding that Ashworth was not subject to custodial interrogation.

4. The officers' questioning of Ashworth was short
and non-coercive.

The fourth factor, the duration and character of the
questioning also favors finding that the interrogation was not
custodial. A short interview supports a finding that a suspect was
not in custody. Hughes, 640 F.3d at 437 (considering an interview
that was ninety minutes non-custodial); Nishnianidze, 342 F.3d at
14 (affirming denial of suppression when an interview was forty-

five minutes or less); but see Mittel-Carey, 493 F.3d at 40

 

{determining that an interview that was ninety minutes to two hours
supported a suspect being in custody). Officers using a polite
tone weighs in favor of finding that a person was not in custody.
Hughes, 640 F.3d at 437. Officers not using coercive tactics, such
as "false information” or a "'good guy-bad guy' routine," does
too. Lanni, 951 F.2d at 442. The time of day a suspect is questioned
is also relevant. For example, a very early morning interview may
indicate that a suspect was restrained. Nishnianidze, 342 F.3d at
14. Finally, the fact that a suspect is "appropriately dressed,"
rather than in underwear or pajamas, suggests that an interrogation
was not custodial. Hughes, 640 F.3d at 437.

In this case, the officers’ questioning of Ashworth was brief

-~ well below 45 minutes - during both of their visits on November

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17, 2019. See Aug. 17, 2022 Tr. at 31:5-6, 32:4-10, 53:5-7, 56:25-
57:24, 72:13-73:2. There is no evidence that any officer used an
aggressive or impolite tone, or any tricks or tactics when
questioning Ashworth. Ashworth was questioned at reasonable times
of the day: first, at about 2:30 p.m., Aug. 17, 2022 Tr. at 24:23-
25:11; second, at about 4:20 p.m., id. at ©5:15-18. Ashworth was
not fully clothed on either occasion. During the first visit he
was wearing shorts or boxers and held a blanket. Id. at 30:24-25.
During the second visit he wore only underwear. Id. at 53:16-17.
However, the officers did not prevent him from dressing properly.
Rather, they ensured that he was dressed before he left the
apartment. Id. at 58:14-19. As the duration and character of the
interrogations and the other factors previously discussed indicate
that Ashworth was not then in custody, Ashworth's lack of proper
clothing is not sufficient to justify a finding that he was subject
to custodial interrogation.

Rather, because the officers questioned Ashworth in his home,
there were few officers present, Ashworth was subject to minimal
physical restraint, and the officers’ questioning was short and
non-coercive in nature, Ashworth was not subject to custodial
interrogation. Therefore, the officers were not required to give
Ashworth Miranda warnings and suppression of his statements is not

warranted on Miranda grounds. See Hughes, 640 F.3d at 435.

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B. Ashworth's statements were not involuntary for
constitutional purposes, though he made them when in an
altered mental state, because the officers' conduct was
not coercive.

The admission of "fa]Jn involuntary statement violates due

process." United States v. Jackson, 918 F.2d 236, 241 (lst Cir.

 

1990). "The voluntariness of an admission depends on ‘whether the
will of the defendant [was] overborne so that the statement was

not his free and voluntary act, and that question [is] to be

resolved in light of the totality of the circumstances.'" Id.
(citation omitted). Examination of the totality of the
circumstances requires "the juridical equivalent of an

archeological dig" into: (1) the "nature of the police activity;"
and (2) "the defendant's situation." Hughes, 640 F.3d at 438. When
assessing whether police activity coerced the defendant, a court
may consider "the length and nature of the questioning, any
promises or threats made, and any deprivation of essentials (e.g.,
food, water, sleep, bathroom facilities)." Id. The defendant's
relevant "attributes" may include "his age, education,
intelligence, and mental state." Id. Use of alcohol or drugs is a
factor in a assessing a defendant's mental state. See United States
v. Holmes, 632 F.2d 167, 169 (1st Cir. 1980) (finding a defendant's
claim "that his will was overborne by alcohol or drugs" properly
triggered an inquiry into whether defendant's statements were

voluntary).

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However, "coercive police activity is a necessary predicate
to the finding that" a defendant's statements were involuntary.

Colorado v. Connelly, 479 U.S. 157, 167 (1986). This requirement

 

of "coercive police activity, even if only in the form of a
custodial interrogation," applies regardless of whether a

defendant is in a "drug-addled" state. United States v. Diaz-

 

Rosado, 857 F.3d 116, 123 (lst Cir. 2017). For example, in United
States v. Palmer, 203 F.3d 55 (lst Cir. 2000), the First Circuit
held that a defendant's mental state, altered because he was going
through heroin withdrawal, was not dispositive because "mental
state by itself and apart from its relation to official coercion
never disposes of the inquiry into constitutional voluntariness."

Id. at 61-62; see also United States v. Chapman, 112 F. App'x 469,

 

474 (6th Cir. 2004) (affirming denial of suppression though the
defendant made his statements in a "heroin-befuddled state"
because there was no coercive police activity). Nevertheless, when
interrogating officers are aware of a defendant's "compromised
mental state . . . a lesser quantum of coercion is required" for
a court to find the statements involuntary. Hughes, 640 F.3d at
438-39.

With regard to Ashworth, there is no evidence that his age,
education, or intelligence make it likely that his statements were
involuntary. As the government notes, Ashworth "was a 25-year-old

male who maintained his own residence and appeared to be capable

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of living independently and making his own decisions." Gov't Opp'n
at 12. The issue, however, is Ashworth's mental state at the time
officers questioned him. Ashworth argues, Mem. in Supp. at 3, 6-
7, and his medical records support, that he was in a compromised
state when officers questioned him on November 17, 2019. Ashworth
said he consumed a "full bottle of vodka," Xanax, and cocaine the
evening of November 16, 2019. Med. Rs. at 3 (Dkt. No. 84-3 -
sealed). Medical records from that day indicate that he was under
the influence of cannabinoids and was suffering from "Pneumonia,
Mental status changes, Dehydration, Acute renal failure,
Rhabdomyolysis, [and] Hepatitis." Med. Rs. At 8 (Dkt. No. 84-2 -
sealed). On November 18, 2019 and later, doctors opined that a
cocaine overdose caused his pneumonia. See id. at 80; Med. Rs. at
37 (Dkt. No. 84-3). This evidently affected Ashworth's mental
state. About an hour after officers and firefighters made their
second visit to Ashworth's apartment, doctors noted that Ashworth
was "somewhat confused and disoriented” and was oriented to "person
and place but not day or date." Med. Rs. at 5-6 (Dkt. No. 84-2 -
sealed). This is consistent with Lacerra's testimony that although
he did not think Ashworth was overdosing, Ashworth appeared to be
under the influence of drugs or alcohol, Aug. 17, 2022 Tr. at 54:9-
13, and was not able to recall what day of the week it was, id. at

72:17-24.

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However, it is not proven that Ashworth was in an altered
mental state during the first visit to his apartment when Hall
spoke with him. More specifically, Hall only reported that Ashworth
looked like he had just woken up. Aff. of Ryan Hall at {8 (Dkt.
No. 92-1). Ashworth told firefighters and Hall that he did not
need any assistance. Id. at 410; Aug. 17, 2022 Tr. at 31:7-11.

Ashworth argues that given his altered state the level of
coercion the officers exerted was sufficient to make his statements
involuntary. Mem. in Supp. at 6-8. Much of the excavation for the
"archeological dig" into the officers’ activity that the First
Circuit requires, Hughes, 640 F.3d at 438, was addressed in the
prior analysis of whether Ashworth was subject to a custodial
interrogation. See supra Part IV.A. The fact that Ashworth was not
subject to custodial interrogation weighs in favor of finding that
the officers’ conduct was not coercive. See Diaz-Rosado, 857 F.3d
at 123 (requiring at least "custodial interrogation" to establish
coercion when defendant was under the influence of drugs).

Moreover, the factors specific to the voluntariness inquiry
indicate that Ashworth's statements were not the product of police
coercion. First, the length and nature of the officers' inquiries,
Hughes, 640 F.3d at 438, do not weigh in favor of finding coercion.
As discussed earlier, Hall and Lacerra questioned Ashworth
briefly. See Aug. 17, 2022 Tr. at 31:5-6, 32:4-10, 53:5-7, 56:25-

57:24, 72:13-73:2. Ashworth notes that officers initiated the

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encounters and argues that during the second visit they were aware
of his compromised mental state but "rather than trying to help
him" they "immediately" asked "incriminating questions such as if
he knew who the woman was." Mem. in Supp. at 6-8. However, this is
not an accurate characterization of the officers' conduct. The
officers came to Ashworth's apartment to conduct a well-being check
and to respond to a reported overdose. Aug. 17, 2022 Tr. at 24:23-
25:11, 50:19-51:11. There is no evidence that they raised their
voices, acted aggressively, used tricks, or asked questions that
were leading or overly suggestive. Lacerra's brief questions were
straightforward and directly relevant to assessing the situation
in the apartment and the safety of everyone there. See Gov't Opp'n
at 11-12. Rather than refusing to help Ashworth, firefighters
administered aid to him. Aug. 17, 2022 Tr. at 54:23-55:2. Second,
there is no evidence or allegation that any officer made "promises
or threats" to Ashworth. See Hughes, 640 F.3d at 438. Third, there
is no allegation, let alone evidence, that officers "deprived"
Ashworth of "essentials." See id.

Even though Ashworth's altered mental state requires a
"lesser quantum of coercion" to warrant suppression, id. at 438-
39, the officers' conduct did not constitute the coercion needed
to establish a constitutional violation rendering his statements

involuntary, see id. at 439-40.

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In view of the foregoing, Ashworth's motion to suppress the
statements he made on November 17, 2019 is being denied.
V. ORDER

It is hereby ORDERED that:

1. Defendant Rafael Ashworth's Second Motion to Suppress
(Dkt. No. 105) is DENIED.

2. Counsel shall confer and, by July 12, 2023, report
whether Ashworth requests a Rule 11 hearing or a pretrial
conference.

3. A Rule 11 hearing or pretrial conference shall be held
on August 3, 2023, at 11:30 a.m.

4, All time until the Rule 11 hearing or pretrial conference
is EXCLUDED for Speedy Trial Act purposes because the interests of
justice served by providing the defendant the opportunity to confer
with his counsel and the government concerning how he wishes to
proceed outweigh the interests of the public and the defendant in

a speedy trial. See 18 U.S.C. §3161(h) (7) (A).

UNITED \GTATES DISTRICT “

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